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      IN THE UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF WEST
                                  VIRGINIA

 CHESTER CALHOUN,

             Plaintiff,

 v.                                                                   Civil Action No. 2:21-cv-00455
                                                                             Honorable Irene Berger
 FELD ENTERTAINMENT, INC.; and
 JOHN DOE a/k/a "MAUI" from MOANA,

             Defendants.

                ORDER APPROVING JOINT STIPULATION FOR
           SUBSTITUTION OF RINGLING BROS. – BARNUM & BAILEY
      COMBINED SHOWS, INC. FOR DEFENDANT FELD ENTERTAINMENT, INC.

        Before this Court is Plaintiff Chester Calhoun’s and Defendant Feld Entertainment, Inc.’s

Joint Stipulation for Substitution of Ringling Bros. – Barnum & Bailey Combined Shows, Inc. for

Defendant Feld Entertainment, Inc. Having considered the contents therein, the Court finds as

follows:

        1.       It is agreed upon by the parties that Ringling Bros. – Barnum & Bailey Combined

Shows, Inc. is a subsidiary of Feld Entertainment, Inc., and is the entity responsible for producing

Disney On Ice, the event at which Plaintiff has alleged he was injured.

        2.       It is agreed upon by the parties that Ringling Bros. – Barnum & Bailey Combined

Shows, Inc. is the proper entity against which Plaintiff should bring suit.

        3.       It is agreed upon by the parties that substituting Ringling Bros. – Barnum & Bailey

Combined Shows, Inc. as a defendant in the above-styled civil action instead of Feld Entertainment,

Inc. will result in no prejudice to any party.

        4.       And finally, it is agreed upon by the parties that to the extent that Plaintiff later moves


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to add Feld Entertainment, Inc. as a party defendant, Feld Entertainment, Inc. agrees not to object to

the same on the basis of timeliness and agrees that any amendment will relate back to the date of the

original filing of the Complaint in this matter. Feld Entertainment, Inc. reserves all other defenses to

any potential motion or claim.

       Accordingly, this Court hereby GRANTS the joint request of the parties and hereby

ORDERS that Ringling Bros. – Barnum & Bailey Combined Shows, Inc. be substituted as a

defendant in place of Feld Entertainment, Inc. in the above-styled civil action. This Court further

ORDERS that all prior filings made by Feld Entertainment, Inc. shall be considered filings of

Ringling Bros. – Barnum & Bailey Combined Shows, Inc.

       The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and to any

unrepresented party.



                                                       ENTER:       December 29, 2021



                                                       _______________________________
                                                       Judge Irene Berger


Prepared by:

 /s/ Charles R. Bailey
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